                                     United States District Court
                                  Eastern District of North Carolina
                                          Office of the Clerk
                                            PO Box 25670
                                    Raleigh, North Carolina 27611

 Phone (919) 645-1700                                                                Peter A. Moore, Jr.
 Fax (919) 645-1750                                                                      Clerk of Court


April 16, 2018

Robert J. Higdon, Jr., U.S. Attorney
United States Attorney's Office
310 New Bern Avenue, Suite 800
Raleigh, NC 27601

                                  Re: Richard Hallman, II v. Warden FMC Butner
                                      5:17-HC-2166-BO

Dear Mr. Higdon,

  The following documents have been forwarded to your office by electronic notification:

                        Order allowing petitioner to proceed in forma pauperis.
          xx            Application for Writ of Habeas Corpus filed on 9/12/2017.
          xx            Order Directing Clerk to Continue Management of Case filed on 4/16/2018.

   The respondent is allowed twenty-one (21) days from the date of service in which to file a
responsive pleading.

                                                       Sincerely,

                                                       /s/ Peter A. Moore, Jr.
                                                       Clerk



Enclosures\

 cc:     Richard Hallman, II 63609-004
         Butner - F.M.C.
         P.O. Box 1600
         Butner, NC 27509




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